                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:12-00013
                                                    )      JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                         )

                                            ORDER



       Pending before the Court is a Motion to Reschedule Status Conference (Docket No. 525)

filed by Defendant Angela Whitson.

       The status conference currently scheduled for October 8, 2013, is cancelled. The pretrial

conference and/or change of plea hearing remains scheduled for October 25, 2013, at 9:00 a.m. and

the trial remains scheduled for November 12, 2013, at 9:00 a.m.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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